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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA


   STEPHEN OROSS,
                       Plaintiff,

         v.                                                   CIVIL ACTION
                                                               No. 21-5032

    KUTZTOWN UNIVERSITY, et al.,

                       Defendants.



                                       ORDER


      AND NOW, this 25th day of July, 2022, it is hereby ORDERED that the

dispositive motion deadline is extended to Friday, October 14, 2022 and the next

telephonic status conference shall be held on Tuesday, October 11, 2022, at 3:00 p.m.

The dial-in number is 888-204-5984 and the access code is 3221457.

                                              BY THE COURT:



                                              /s/ Jeffrey L. Schmehl
                                              JEFFREY L. SCHMEHL, J.
